             Case 5:18-cv-00911-XR Document 53 Filed 08/10/20 Page 1 of 3




                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

SADIE HACKLER on behalf of herself                ) SA-18-CV-00911-XR
and all others similarly sitiuated

v.                                                )

TOLTECA ENTERPRISES INC.                          )

                         ADVISORY TO THE COURT ON CLASS LIST

       Now comes Tolteca Enterprises Inc., who provides this advisory to the court regarding

the list of class members.

       Counsel has been in contact with Tolteca Enterprises Inc. Tolteca’s counsel has been

told that Tolteca told its bulk mailer service to cooperate with Plaintiff’s lawyers on the names

and addresses of the class members for the time period relevant to the class period.1 The bulk

mailer is a company named Focus One. Focus One was used to send out letters the Plaintiff

alleges was in violation of the Federal Fair Debt Collection Practices Ac. (The “form letter”). At

Tolteca’s request, Focus One prepared a list of addresses and names of the class members which

was delivered to Plaintiff’s lawyers. The list originated from Tolteca’s Debt Net and MARS

software. The software would generate the name and address of the consumer and from that

information, Focus One would have prepared its list for the Plaintiff. Plaintiff’s lawyers then

provided the list to another company to prepare and send out the class notice.

       According to Tolteca’s records, the Focus One list is believed to be accurate and

complete for the time period of the class action. Any discrepancies are not wilful or intentional.

       It is not outside the realm of possibility that some potential class members may have



       1
           The time period of the class is August 31, 2017 to August 31, 2018.
           Case 5:18-cv-00911-XR Document 53 Filed 08/10/20 Page 2 of 3




moved, left no forwarding address, passed away, have no interest in this matter, or are otherwise

reluctant to join the class. There may be numerous persons to whom mail is not deliverable for a

variety of reasons. Also there may be duplications due to skip tracing and the same letter going

to the particular putative class member. Tolteca will correct any error if any is detected on any

names and addresses.2

       It is also possible that particular putative class members may have multiple addresses and

there probably are some duplications. Plaintiff’s attorneys have alluded to the probability of

multiple addresses for the same person who might be a class member.

       These possibilities are outside Tolteca’s control but Tolteca will endeavor to cross check

Plaintiff’s list with the list information Focus One would have relied upon.

       WHEREFORE, Tolteca files this Advisory with the court in connection with this case.

                                                      S/Tom Clarke
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                                  CERTIFICATE OF SERVICE

        I certify that the foregoing has been e-filed on August 10, 2020, with the court’s CM/ECF
electronic filing system which will give notice electronically to all opposing counsel in this case.

                                                      S/Tom Clarke




       2
        Debt Net and MARS are being replaced as being difficult to use and as being old
technology and that such software does not readily generate a list of consumer names and
addresses in an easily extracted excel spreadsheet.
Case 5:18-cv-00911-XR Document 53 Filed 08/10/20 Page 3 of 3
